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FILED PARTIALLY UNDER SEAL

Exhibit 124

August 13, 2024 Notice
(Excerpt of Exhibit A Included As Exhibit 125)
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Catalina Re

August 13, 2024 Catalina U.S. Insurance Services LLC
5 Batterson Park Road, 3 Floor

Jeffrey Silver Farmington, CT 06032

Pennsylvania Insurance Company Catalinare.com

10805 Old Mill Road Administrator on behalf of:

Omaha, NE 68154 Alea North America Insurance Company

National American Insurance Company of California
National Home Insurance Company (RRG)
SPARTA Insurance Company

Re: Indermnification Claim Members of Catalina Holdings (Bermuda) Ltd.

Dear Mr. Silver:

I write on behalf of SPARTA in reference to the Stock Purchase Agreement
("SPA") among Pennsylvania General Insurance Company ("PGIC"), OneBeacon
Insurance Company ("OneBeacon"), and SPARTA Insurance Holdings, Inc. ("SPARTA")
dated as of March 12, 2007.

SPARTA has previously provided Pennsylvania Insurance Company ("PIC,"
formerly PGIC) with notice of various claims under Section 8.1 of the SPA, which relate to
insurance policies originally issued by American Employers' Insurance Company
("AEIC"), for which PGIC agreed to indemnify SPARTA under the SPA. SPARTA also
reserved its right to advise PIC of the dollar amount of each such claim at a later date.

In prior correspondence on November 7, 2022, September 28, 2023, November 6,
2023, December 19, 2023, February 6, 2024, February 26, 2024, March 26, 2024, April 30,
2024, May 20, 2024, and July 23, 2024, SPARTA advised PIC that it had expended a total
of[_ Redacted _]on the previously noticed claims through June 30, 2024, and[__Redacted_|
in service fees paid to A.G. Risk Management Inc. for processing those claims. SPARTA
also informed PIC that it reserved the right to provide PIC with notices regarding additional
amounts expended. To date, PIC has not made any payments to SPARTA.

Pursuant to Section 8.3 of the SPA, SPARTA hereby advises PIC that SPARTA has
expended an additional] Redacted _|on the previously noticed claims through July 31,
2024, and an additionallRedacted|in service fees paid to A.G. Risk Management Inc. See
Exhibit A. Please promptly remit payment to SPARTA of that amount.

PIC is responsible for the handling and defense of these claims under the SPA and
the Instrument of Transfer and Assumption between PGIC and AEIC dated June 15, 2005.
Until PIC confirms that it will satisfy its contractual obligations to SPARTA by
administering and paying these claims, SPARTA may continue to protect its interest and
reserves all rights. The amounts set forth on Exhibit A are provided without prejudice to
SPARTA's right to recover additional amounts expended after June 30, 2024 in furtherance
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Catalina Re

of resolving these or other claims for which PIC is responsible, and to SPARTA's right to
recover legal fees as incurred or will incur due to PGIC's failure to satisfy its obligations to
SPARTA. SPARTA will provide PIC with any such additional amounts expended by
SPARTA periodically.

Please contact me if you need additional information or believe any of this is
incorrect.

Very truly yours,

Joshua Weiner
Enclosures

ce: Samuel C. Kaplan (via email w/enclosures as requested by PGIC)
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Excerpt of Exhibit A
Included As Exhibit 125
